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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                  July 22, 2022
                        UNITED STATES DISTRICT COURT
                                                                               Nathan Ochsner, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


United States of America                          §
                                                  §
vs.                                               §     4:22-CR-00033-001
                                                  §
Heather Ann Campos                                §

                   ORDER OF DETENTION PENDING TRIAL


       A hearing in this matter was held on July 22, 2022. Assistant United States

Attorney Jay Hileman appeared on behalf of the United States; JoAnne Musick

appeared on behalf of Defendant Heather Ann Campos. At the hearing, Defendant

acknowledged that he understands his right to a prompt detention hearing and to

require the Government to meet its burden of proving that no conditions of release

exist which will reasonably assure his appearance in court and the safety of the

community. Defendant knowingly and voluntarily waived that right, on the record

and through counsel. For good cause shown, Defendant’s request to waive the

detention hearing is hereby GRANTED.

       It is therefore ORDERED that:

       (1) Defendant be detained pending trial;

       (2) Defendant be committed to the custody of the Attorney General or a designated

          representative for confinement in a corrections facility separate, to the extent


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          practicable, from persons awaiting or serving sentences or held in custody pending

          appeal.

       (3) Defendant be afforded a reasonable opportunity to consult privately with counsel for

          his defense; and

       (4) On order of a court of the United States or on request of an attorney for the Government,

          the person in charge of the corrections facility deliver Defendant to the United States

          marshal for a court appearance.


       Signed on July 22, 2022, at Houston, Texas.


                                                         ___________________________
                                                         Dena Hanovice Palermo
                                                         United States Magistrate Judge




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